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aty         Cynthia L. Carroll         Cynthia@CynthiaCarrollLaw.com
aty         Don A. Beskrone           dbeskronetrustee@gmail.com
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            63304−2225
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